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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
V.

Criminal Action No. 22-00096-4 (CKK)

PAULA PAULETTE HARLOW,

Defendant.

ORDER
(February 4, 2025)

Pursuant to the February 4, 2025 Mandate and Order by the United States Court of Appeals
for the District of Columbia Circuit, this case was remanded to the undersigned “with instructions
to dismiss the case as moot.” Accordingly, it is this 4th day of February 2025,

ORDERED that, in accordance with that Mandate and Order, this case be and hereby is

DISMISSED as moot.

/s/
COLLEEN KOLLAR-KOTELLY
UNITED STATES DISTRICT JUDGE

